FORM N-S5O rev. 4702

No. 30039294

No AXXXXXXXX
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PRINT OR PHOTOGRAPH THIS CERTIFICATE,
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Case 1:19-cv-02070-JDB Document 20-4 Filed 09/02/21 Page 2 of 2

Department of Justice . a
Immigration and Naturalization Service Petition for Name Change

UNITED STATES DISTRICT-COURT OF MASSACHUSETTS

(NAME OF COURT)

As part of the naturalization process, you have the opportunity to legally change your name. Please complete lines 1 -
8 (Type or print clearly).

-

My full and correct name (current name):

1 MEHRANGIZ ___KARKHEIRIAN SEDEHI
(FIRST) (MEDDLE) (LAST)
2. Address: 8009 Lions Crest Way Gaithersburg, MD 20879
: (Number/Street) (City/State) (Zip Code)
3. Country of Nationality: iran 4, Date of Birth: 10/ 10/1944

(Month) (ay) (Complete Year)

5, Alien Registration Card (Green Card) Number: A 045 1ST 031

6. Lcertify that I am net secking a change of name for any untae purpose such as the avoidance of debt or evasion
of law enforcement,

7. T petition the court to change my name to:

MEHRANGIZ. KAR
(FIRST) (MIDDLE) _ (LAST)
8, Date: 4/19/2005 Laporgeg flab sthe secte dy,”

Signature of Petitioner, (current name)

CERTIFICATION OF NAME CHANGE JUNE 20, 2007

I CERTIFY THAT THE ABOVE PETITION WAS GRANTED BY THE COURT ON
(ate)

/ na A . (Cig) p ihe, 4
GMT EN) Ag OH
(Deputy Clerk... ff"

IMPORTANT INFORMATION

Your copy of this petition, along with your Certificate of Naturalization, which you will receive upon taking the oath of allegiance, will verify that
_ you elected to change your name, Your Certificate of Naturalization hears your new name aa changed per Order of the Court.

Form N-XXX (11/1/98)
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